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             EXHIBIT A
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                   16
                                                   UNITED STATES DISTRICT COURT
                   17
                                                NORTHERN DISTRICT OF CALIFORNIA
                   18
                                                           SAN FRANCISCO DIVISION
                   19
                        RICHARD KADREY, et al.,                        Case No. 3:23-cv-03417-VC
                   20
                        Individual and Representative
                   21                                                   DEFENDANT META PLATFORMS, INC.S
                                             Plaintiffs,                OBJECTIONS AND RESPONSES TO
                   22                                                   PLAINTIFFS FIFTH SET OF REQUESTS FOR
                               v.                                       PRODUCTION
                   23
                        META PLATFORMS, INC., a Delaware
                   24   corporation;

                   25                        Defendant.

                   26

                   27

                   28
COOLEY LLP
ATTORNEYS AT LAW                                                                             METAS OBJ & RESPS TO
                                                                                           PLTFS FIFTH SET OF RFPS
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                    1          4.      To the extent that Meta responds to a Request by stating that Meta will provide

                    2   documents that Meta deems to embody material that is private, business confidential, proprietary,

                    3   trade secret, or otherwise protected from disclosure pursuant to Federal Rule of Civil Procedure

                    4   26(c) and/or Federal Rule of Evidence 501, Meta will only do so subject to, and in accordance with,

                    5   the parties stipulated protective order (ECF No. 90, the Protective Order).

                    6          5.      The provision of a response to any of these Requests does not constitute a waiver of

                    7   any objection regarding the use of said response in these proceedings. Meta reserves all objections

                    8   or other questions as to the competency, relevance, materiality, privilege or admissibility as

                    9   evidence in any subsequent proceeding in or trial of this or any other action for any purpose

                   10   whatsoever of this response and any document or thing produced in response to the Requests.

                   11          6.      Meta reserves the right to object on any ground and at any time to such other or

                   12   supplemental requests for production that Plaintiffs may propound involving or relating to the

                   13   subject matter of these Requests.

                   14          7.      Unless otherwise stipulated in a production protocol or ordered by the Court, Meta
                   15   will produce each document in response to these Requests in a form in which it is ordinarily
                   16   maintained or in a reasonably usable form.
                   17   II.    OBJECTIONS TO INSTRUCTIONS AND DEFINITIONS
                   18          Whether or not separately set forth in response to each Request, Meta makes the following

                   19   objections to the Instructions and Definitions accompanying Plaintiffs Requests, and to each

                   20   Request that includes them.

                   21          1.      Meta objects to the definition of Agreements as overbroad and unduly

                   22   burdensome to the extent that it encompasses oral contracts, arrangements, or understandings,

                   23   including those that are informal. Meta further objects to the definition of Agreements as vague,

                   24   ambiguous, and unintelligible as to the term modifications to the extent it is intended to mean

                   25   something distinct from versions or amendments. Meta construes Agreements to mean

                   26   written contracts, including drafts, versions, amendments, exhibits, and appendices thereof.

                   27          2.      Meta objects to the definition of Communications to the extent it is inconsistent

                   28   with and otherwise seeks to circumvent the custodian and search term limits for electronic
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ATTORNEYS AT LAW                                                                                     METAS OBJ & RESPS TO
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                    1   communications (including emails and other electronic correspondence, and documents attached

                    2   thereto), as provided in the Stipulated Protocol regarding Electronic Discovery (ESI Order).

                    3   Meta will produce Documents, including Communications, pursuant to the terms of the ESI Order,

                    4   and any agreement to produce such Documents is explicitly in view of the terms of the ESI Order.

                    5   To the extent that Meta responds to a Request, including by agreeing to search for relevant, non-

                    6   privileged communications in Metas possession, custody, or control, such response is not a

                    7   representation that any particular custodian or search term is appropriate. Meta expressly reserves

                    8   the right to object to any custodians and search terms proposed by Plaintiffs.

                    9          3.      Meta objects to the definition of Identify as these are Requests for Production and

                   10   not Interrogatories. Purporting to require Meta to Identify certain information in response to a

                   11   Request for Production would otherwise circumvent the interrogatory limit. Meta further objects

                   12   to this definition to the extent it exceeds the scope of Rule 34 by imposing an obligation that Meta

                   13   create new documents in response to these Requests.

                   14          4.      Meta objects to the definition of Llama Models as vague and ambiguous as to the
                   15   terms and phrases other AI models, instances, iterations, versions, updates,
                   16   modifications, original version, experimental versions, subsequent versions, and
                   17   refinements to the underlying algorithm, parameters, or architecture, as applied to Llama and
                   18   any other AI models developed or in development by Meta. Meta further objects to this definition

                   19   as overbroad, unduly burdensome, and disproportionate to the needs of the case to the extent that

                   20   it purports to require Meta to produce documents concerning large language models (LLMs) that

                   21   were not publicly released and/or were not trained on corpuses of text that allegedly include any of

                   22   Plaintiffs allegedly copyrighted works. For the same reason, Meta objects to this definition to the

                   23   extent that it purports to require Meta to produce documents that are not relevant to any partys

                   24   claims or defenses. Meta construes Llama Models to mean the models within the Llama family

                   25   of LLMs that have been publicly released by Meta, namely, Llama 1, Llama 2, Code Llama, and

                   26   Llama 3.

                   27          5.      Meta objects to the definitions of Llama 1, Llama 2, and Llama 3 as vague

                   28   and ambiguous as to the undefined terms precursor models and variant models. Meta further
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ATTORNEYS AT LAW                                                                                      METAS OBJ & RESPS TO
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                    1   objects to these definitions as overbroad, unduly burdensome, and disproportionate to the needs of

                    2   the case to the extent that it purports to require Meta to produce documents or information

                    3   concerning LLMs that were not publicly released and/or were not trained on corpuses of text that

                    4   include any of Plaintiffs allegedly copyrighted works. For the same reason, Meta objects to these

                    5   definitions to the extent that they purport to require Meta to produce documents or information

                    6   concerning LLMs that are not relevant to any partys claims or defenses. For purposes of these

                    7   responses, Meta construes the term Llama 1 to refer to the LLM released by Meta as Llama on

                    8   February 24, 2023, the term Llama 2 to refer to the LLM released by Meta under that name on

                    9   July 18, 2023, and the term Llama 3 to refer to the LLMs released by Meta under that name on

                   10   April 18, 2024, July 23, 2024, and September 25, 2024.

                   11          6.         Meta objects to the definition of Meta as overbroad, unduly burdensome, and

                   12   disproportionate to the needs of the case to the extent that it purports to require Meta to produce

                   13   documents outside of its possession, custody, or control. Meta construes Meta or You to mean

                   14   Meta Platforms, Inc.
                   15          7.         Meta objects to the definition of Relevant Period as vague, ambiguous, and
                   16   unintelligible, as it is defined circularly to mean all times relevant to . . . the Complaint. Meta
                   17   construes the Relevant Period to mean January 1, 2022 to the present.
                   18          8.         Meta objects to the definition of Shadow Dataset(s) as vague and ambiguous as

                   19   to the phrasing the type of databases described in paragraph 37 of the Complaintdatabases

                   20   including but not limited to . . . and encompass all versions, updates, augmentations, or

                   21   modifications of such databases. Without any admission with respect to their content or nature,

                   22   Meta construes the term Shadow Dataset(s) as used in the Requests and the term Third Party

                   23   Datasets synonymously to refer to the third party datasets that are commonly referred to as

                   24   Books3, Z-Library (aka B-ok), Library Genesis, Bibliotik, Annas Archive, and The Pile.

                   25          9.         Meta objects to the definition of Torrent System as vague and ambiguous as to

                   26   the phrasing a network application designed for sharing computer data. Meta construes the term

                   27   Torrent System as used in these Requests to refer to software for using the BitTorrent protocol

                   28   to obtain data.
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ATTORNEYS AT LAW                                                                                      METAS OBJ & RESPS TO
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                    1   subject matter of the Request, including documents and communications with limited, if any,

                    2   relevance to Plaintiffs copyright infringement allegations and Metas defenses thereto.

                    3          Meta objects to this Request to the extent it seeks information that is not relevant to any

                    4   partys claims or defenses, and on the ground that it presumes that a decision was made to include

                    5   this language.

                    6          Subject to and without waiving the foregoing objections, and pursuant to the terms of the

                    7   Protective Order and ESI Order, Meta will conduct a reasonable search for and produce non-

                    8   privileged, responsive documents in its possession, custody, or control, if any, concerning Metas

                    9   decision, if any, to describe Llama 2 training data as publicly available in the Llama 2 Paper.

                   10   REQUEST FOR PRODUCTION NO. 81:

                   11          All Documents and Communications related to the decision to use Shadow Datasets for

                   12   training Llama Models.

                   13   RESPONSE TO REQUEST NO. 81:

                   14          Meta incorporates by reference its objections and definitions above, including to the term
                   15   Shadow Datasets. Any electronic communications, including emails and documents attached
                   16   thereto, will only be produced pursuant to and in accordance with the ESI Order.
                   17          Meta objects to this Request because, on its face, it does not exclude documents and
                   18   communications exchanged with or at the direction of Metas attorneys concerning legal advice or

                   19   opinions, which are subject to attorney-client privilege and/or attorney work product

                   20   doctrine. Such documents will not be produced.

                   21          Meta objects to this Request as overbroad, unduly burdensome, and disproportionate to the

                   22   needs of the case to the extent that it seeks all documents and communications concerning the

                   23   subject matter of the Request, including documents and communications with limited, if any,

                   24   relevance to Plaintiffs copyright infringement allegations and Metas defenses thereto, in particular

                   25   to the extent it concerns datasets that do not include Plaintiffs asserted works.

                   26          Meta objects to this Request to the extent it seeks information that is not relevant to any

                   27   partys claims or defenses.

                   28          Meta objects to this Request to the extent that Meta has already searched for and provided
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                    1   documents responsive to this Request, which overlaps with prior Requests.

                    2             Subject to and without waiving the foregoing objections, and pursuant to the terms of the

                    3   Protective Order and ESI Order, Meta will conduct a reasonable search for and produce non-

                    4   privileged, responsive documents in its possession, custody, or control concerning Metas decision

                    5   to use data from Third Party Datasets (as construed above) to train the Llama Models (as construed

                    6   above).

                    7   REQUEST FOR PRODUCTION NO. 82:

                    8             All Documents and Communications related to the role of EleutherAI in the acquisition and

                    9   use of Books3.

                   10   RESPONSE TO REQUEST NO. 82:

                   11             Meta incorporates by reference its objections and definitions above, including to the term

                   12   EleutherAI. Any electronic communications, including emails and documents attached thereto,

                   13   will only be produced pursuant to and in accordance with the ESI Order.

                   14             Meta objects to this Request because, on its face, it does not exclude documents and
                   15   communications exchanged with or at the direction of Metas attorneys concerning legal advice or
                   16   opinions, which are subject to attorney-client privilege and/or attorney work product
                   17   doctrine. Such documents will not be produced.
                   18             Meta objects to this Request as vague and ambiguous as to the terms role and acquisition

                   19   and use, as it fails to identify with specificity the scope of what the Request is referring to,

                   20   including what constitutes a role or the acquisition and use of Books3, and fails to specify

                   21   whose acquisition and use of Books3 is at issue. Meta construes this Request as seeking

                   22   documents related to EleutherAIs involvement, if any, in Metas use of Books3 to train the Llama

                   23   Models (as construed above).

                   24             Meta objects to this Request as overbroad, unduly burdensome, and disproportionate to the

                   25   needs of the case to the extent that it seeks all documents and communications concerning the

                   26   subject matter of the Request, including documents and communications with limited, if any,

                   27   relevance to Plaintiffs copyright infringement allegations and Metas defenses thereto.

                   28             Meta objects to this Request to the extent it seeks information that is not relevant to any
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                    1          Meta objects to this Request to the extent it seeks information that is not relevant to any

                    2   partys claims or defenses.

                    3          Meta objects to this Request to the extent that Meta has already searched for and produced

                    4   documents responsive to this Request, which overlaps with prior Requests.

                    5          Subject to and without waiving the foregoing objections, and pursuant to the terms of the

                    6   Protective Order and ESI Order, Meta will conduct a reasonable search for and produce non-

                    7   privileged, responsive documents in its possession, custody, or control, if any, sufficient to show

                    8   any revenues and profits generated by Meta from its dissemination of the Llama Models (as

                    9   construed above).

                   10   REQUEST FOR PRODUCTION NO. 91:

                   11          All Documents and Communications related to any licensing agreements for Llama Models,

                   12   including terms, conditions, and consideration.

                   13   RESPONSE TO REQUEST NO. 91:

                   14          Meta incorporates by reference its objections and definitions above. Any electronic
                   15   communications, including emails and documents attached thereto, will only be produced pursuant
                   16   to and in accordance with the ESI Order.
                   17          Meta objects to this Request because, on its face, it does not exclude documents and
                   18   communications exchanged with or at the direction of Metas attorneys concerning legal advice or

                   19   opinions, which are subject to attorney-client privilege and/or attorney work product

                   20   doctrine. Such documents will not be produced.

                   21          Meta objects to this Request as vague and ambiguous as to the phrase licensing agreements

                   22   for the Llama Models and the term distributing. Meta construes this Request as seeking

                   23   documents related to agreements entered by Meta to license use of the Llama Models (as construed

                   24   above) to third parties.

                   25          Meta objects to this Request as overbroad, unduly burdensome, and disproportionate to the

                   26   needs of the case to the extent that it seeks all documents and communications concerning the

                   27   subject matter of the Request, including documents and communications with limited, if any,

                   28   relevance to Plaintiffs copyright infringement allegations and Metas defenses thereto.
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ATTORNEYS AT LAW                                                                                     METAS OBJ & RESPS TO
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                    1              Meta objects to this Request to the extent it seeks documents for which Meta is contractually

                    2   bound to seek consent or disclosure prior to production. Meta will only produce documents in

                    3   accordance with such obligations.

                    4              Meta objects to this Request to the extent it seeks information that is not relevant to any

                    5   partys claims or defenses.

                    6              Meta objects to this Request to the extent that Meta has already searched for and produced

                    7   documents responsive to this Request, which overlaps with prior Requests.

                    8              Subject to and without waiving the foregoing objections, and pursuant to the terms of the

                    9   Protective Order and ESI Order, Meta will conduct a reasonable search for and produce non-

                   10   privileged, responsive documents in its possession, custody, or control, sufficient to show any

                   11   agreements entered by Meta to license use of the Llama Models (as construed above) to third

                   12   parties.

                   13   REQUEST FOR PRODUCTION NO. 92:

                   14              All Documents and Communications related to the pricing strategy for distributing Llama
                   15   Models.
                   16   RESPONSE TO REQUEST NO. 92:
                   17              Meta incorporates by reference its objections and definitions above. Any electronic
                   18   communications, including emails and documents attached thereto, will only be produced pursuant

                   19   to and in accordance with the ESI Order.

                   20              Meta objects to this Request because, on its face, it does not exclude documents and

                   21   communications exchanged with or at the direction of Metas attorneys concerning legal advice or

                   22   opinions, which are subject to attorney-client privilege and/or attorney work product

                   23   doctrine. Such documents will not be produced.

                   24              Meta objects to this Request as vague and ambiguous as to the phrase pricing strategy

                   25   and the term distributing. Meta construes this Request as seeking documents related to Metas

                   26   strategy, if any, concerning payments required to be made to Meta by licensees pursuant to licenses

                   27   for the Llama Models (as construed above).

                   28
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ATTORNEYS AT LAW                                                                                         METAS OBJ & RESPS TO
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                    1           Meta objects to this Request as overbroad, unduly burdensome, and disproportionate to the

                    2    needs of the case to the extent that it seeks all documents and communications concerning the

                    3    subject matter of the Request, including documents and communications with limited, if any,

                    4    relevance to Plaintiffs copyright infringement allegations and Metas defenses thereto.

                    5           Meta objects to this Request to the extent it seeks information that is not relevant to any

                    6    partys claims or defenses.

                    7           Meta objects to this Request to the extent that Meta has already searched for and produced

                    8    documents responsive to this Request, which overlaps with prior Requests.

                    9           Subject to and without waiving the foregoing objections, and pursuant to the terms of the

                   10    Protective Order and ESI Order, Meta will conduct a reasonable search for and produce non-

                   11    privileged, responsive documents in its possession, custody, or control, if any, sufficient to show

                   12    Metas costs to market and promote the Llama Models (as construed above).

                   13    REQUEST FOR PRODUCTION NO. 94:

                   14           All Documents and Communications related to the financial projections and actual financial
                   15    performance of distributing Llama Models, including financial statements, income statements,
                   16    balance sheets, cash flow statements, and forecasts, that reflect or predict the revenue and profits
                   17    associated with Llama Models.
                   18    RESPONSE TO REQUEST NO. 94:

                   19           Meta incorporates by reference its objections and definitions above. Any electronic

                   20    communications, including emails and documents attached thereto, will only be produced pursuant

                   21    to and in accordance with the ESI Order.

                   22           Meta objects to this Request because, on its face, it does not exclude documents and

                   23    communications exchanged with or at the direction of Metas attorneys concerning legal advice or

                   24    opinions, which are subject to attorney-client privilege and/or attorney work product

                   25    doctrine. Such documents will not be produced.

                   26           Meta objects to this Request as vague and ambiguous as to the terms distributing and

                   27    associated and the phrases actual financial performance of distributing the Llama

                   28    Models. Meta construes this Request as seeking documents reflecting Metas actual and projected
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ATTORNEYS AT LAW                                                                                      METAS OBJ & RESPS TO
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                    1    revenues and profits from the Llama Models (as construed above).

                    2           Meta objects to this Request as overbroad, unduly burdensome, and disproportionate to the

                    3    needs of the case to the extent that it seeks all documents and communications concerning the

                    4    subject matter of the Request, including documents and communications with limited, if any,

                    5    relevance to Plaintiffs copyright infringement allegations and Metas defenses thereto.

                    6           Meta objects to this Request to the extent it seeks information that is not relevant to any

                    7    partys claims or defenses.

                    8           Meta objects to this Request to the extent that Meta has already searched for and produced

                    9    documents responsive to this Request, which overlaps with prior Requests.

                   10           Subject to and without waiving the foregoing objections, and pursuant to the terms of the

                   11    Protective Order and ESI Order, Meta will conduct a reasonable search for and produce non-

                   12    privileged, responsive documents in its possession, custody, or control, if any, sufficient to show

                   13    Metas actual and projected revenues and profits from the Llama Models (as construed above).

                   14    REQUEST FOR PRODUCTION NO. 95:
                   15           All Documents and Communications related to the financial impact of Llama Models on
                   16    the stock price and market valuation of Meta.
                   17    RESPONSE TO REQUEST NO. 95:
                   18           Meta incorporates by reference its objections and definitions above. Any electronic

                   19    communications, including emails and documents attached thereto, will only be produced pursuant

                   20    to and in accordance with the ESI Order.

                   21           Meta objects to this Request because, on its face, it does not exclude documents and

                   22    communications exchanged with or at the direction of Metas attorneys concerning legal advice or

                   23    opinions, which are subject to attorney-client privilege and/or attorney work product

                   24    doctrine. Such documents will not be produced.

                   25           Meta objects to this Request as vague and ambiguous as to the phrase financial impact as

                   26    it pertains to Metas stock price. Meta also objects to this Request as vague and ambiguous as to

                   27    market valuation Meta construes this Request as seeking documents concerning the impact of

                   28    the Llama Models on Metas stock price.
COOLEY LLP
ATTORNEYS AT LAW                                                                                      METAS OBJ & RESPS TO
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                    1           Meta objects to this Request to the extent that it seeks information that is publicly available,

                    2    including as part of Metas disclosures complying with its obligations as a publicly traded

                    3    company.

                    4           Meta objects to this Request as overbroad, unduly burdensome, and disproportionate to the

                    5    needs of the case to the extent that it seeks all documents and communications concerning the

                    6    subject matter of the Request, including documents with limited, if any, relevance to Plaintiffs

                    7    copyright infringement allegations and Metas defenses thereto.

                    8           Meta objects to this Request to the extent it seeks information that is not relevant to any

                    9    partys claims or defenses.

                   10           Subject to and without waiving the foregoing objections, and pursuant to the terms of the

                   11    Protective Order and ESI Order, Meta will conduct a reasonable search for and produce non-

                   12    privileged, responsive documents in its possession, custody, or control, if any, sufficient to show

                   13    Metas operations expenses associated with the Llama Models (as construed above).

                   14    REQUEST FOR PRODUCTION NO. 100:
                   15           All Documents and Communications related to the financial impact of the Llama Models
                   16    on Metas profitability metrics, such as gross margin, operating margin, and net profit margin.
                   17    RESPONSE TO REQUEST NO. 100:
                   18           Meta incorporates by reference its objections and definitions above. Any electronic

                   19    communications, including emails and documents attached thereto, will only be produced pursuant

                   20    to and in accordance with the ESI Order.

                   21           Meta objects to this Request because, on its face, it does not exclude documents and

                   22    communications exchanged with or at the direction of Metas attorneys concerning legal advice or

                   23    opinions, which are subject to attorney-client privilege and/or attorney work product

                   24    doctrine. Such documents will not be produced.

                   25           Meta objects to this Request as vague and ambiguous as to the phrases financial impact

                   26    and profitability metrics. Meta will construe this Request as seeking documents reflecting the

                   27    effect of the Llama Models (as construed above) on Metas gross margin, operating margin, and

                   28    net profit margin.
COOLEY LLP
ATTORNEYS AT LAW                                                                                        METAS OBJ & RESPS TO
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                    1              Meta objects to this Request as vague and ambiguous as to which profitability metrics

                    2    beyond those identified in the Request are being referring to, such that the Request fails to describe

                    3    with reasonable particularity each item or category of items to be inspected, as required by Fed.

                    4    R. Civ. P. 34. Meta will understand this Request as seeking materials describing the impact of the

                    5    Llama Models on Metas gross margin, operating margin, and net profit margin.

                    6              Meta objects to this Request to the extent that it seeks information that is publicly available,

                    7    including as part of Metas disclosures complying with its obligations as a publicly traded

                    8    company.

                    9              Meta objects to this Request as overbroad, unduly burdensome, and disproportionate to the

                   10    needs of the case to the extent that it seeks all documents and communications concerning the

                   11    subject matter of the Request, including documents and communications with limited, if any,

                   12    relevance to Plaintiffs copyright infringement allegations and Metas defenses thereto.

                   13              Meta objects to this Request to the extent it seeks information that is not relevant to any

                   14    partys claims or defenses.
                   15              Meta objects to this Request as duplicative of other Requests, including Request Nos. 90
                   16    and 97.
                   17              Meta objects to this Request to the extent that Meta has already searched for and produced
                   18    documents responsive to this Request, which overlaps with prior Requests.

                   19              Subject to and without waiving the foregoing objections, and pursuant to the terms of the

                   20    Protective Order and ESI Order, Meta will conduct a reasonable search for and produce non-

                   21    privileged, responsive documents in its possession, custody, or control, if any, sufficient to show

                   22    the effect of the Llama Models (as construed above) on Metas gross margin, operating margin,

                   23    and net profit margin.

                   24    REQUEST FOR PRODUCTION NO. 101:

                   25              All Documents and Communications related to the financial impact of the Llama Models

                   26    on Metas cash flow from operating activities.

                   27    RESPONSE TO REQUEST NO. 101:

                   28              Meta incorporates by reference its objections and definitions above. Any electronic
COOLEY LLP
ATTORNEYS AT LAW                                                                                           METAS OBJ & RESPS TO
                                                                             28                          PLTFS FIFTH SET OF RFPS
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                    1    communications, including emails and documents attached thereto, will only be produced pursuant

                    2    to and in accordance with the ESI Order.

                    3           Meta objects to this Request because, on its face, it does not exclude documents and

                    4    communications exchanged with or at the direction of Metas attorneys concerning legal advice or

                    5    opinions, which are subject to attorney-client privilege and/or attorney work product

                    6    doctrine. Such documents will not be produced.

                    7           Meta objects to this Request as vague and ambiguous as to the phrase financial impact.

                    8    Meta construes this Request as seeking documents reflecting the effect of the Llama Models (as

                    9    construed above) on Metas cash flow from operating activities.

                   10           Meta objects to this Request to the extent that it seeks information that is publicly available,

                   11    including as part of Metas disclosures complying with its obligations as a publicly traded company

                   12           Meta objects to this Request as overbroad, unduly burdensome, and disproportionate to the

                   13    needs of the case to the extent that it seeks all documents and communications concerning the

                   14    subject matter of the Request, including documents with limited, if any, relevance to Plaintiffs
                   15    copyright infringement allegations and Metas defenses thereto.
                   16           Meta objects to this Request to the extent it seeks information that is not relevant to any
                   17    partys claims or defenses.
                   18           Meta objects to this Request to the extent that Meta has already searched for and produced

                   19    documents responsive to this Request, which overlaps with prior Requests.

                   20           Subject to and without waiving the foregoing objections, and pursuant to the terms of the

                   21    Protective Order and ESI Order, Meta will conduct a reasonable search for and produce non-

                   22    privileged, responsive documents in its possession, custody, or control, if any, sufficient to show

                   23    effect of the Llama Models (as construed above) on Metas cash flow from operating activities.

                   24    REQUEST FOR PRODUCTION NO. 102:

                   25           All Documents and Communications related to the financial impact of the Llama Models

                   26    on Metas earnings per share (EPS).

                   27    RESPONSE TO REQUEST NO. 102:

                   28           Meta incorporates by reference its objections and definitions above. Any electronic
COOLEY LLP
ATTORNEYS AT LAW                                                                                        METAS OBJ & RESPS TO
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                    1    the data used to train Llama Models, including but not limited to the inclusion of any copyrighted

                    2    material within data used to train Llama Models.

                    3    RESPONSE TO REQUEST NO. 105:

                    4           Meta incorporates by reference its objections and definitions above. Any electronic

                    5    communications, including emails and documents attached thereto, will only be produced pursuant

                    6    to and in accordance with the ESI Order.

                    7           Meta objects to this Request because, on its face, it does not exclude documents and

                    8    communications exchanged with or at the direction of Metas attorneys concerning legal advice or

                    9    opinions, which are subject to attorney-client privilege and/or attorney work product

                   10    doctrine. Such documents will not be produced.

                   11           Meta objects to this Request as compound, vague, and ambiguous as to the phrasing related

                   12    to licensing the Llama Models and concerning the data used to train Llama Models, in particular

                   13    as this clause conflates separate subject matter (i.e., licensing the models and training data). Meta

                   14    further objects to this Request as vague, ambiguous, indefinite, and unduly burdensome as to the
                   15    term copyrighted material, as the Request does not identify any and Meta is not in a position to
                   16    know whether any particular work is subject to copyright protection. Meta is unable to construe
                   17    this Request.
                   18           Meta objects to this Request to the extent that it is duplicative of other Requests, such as

                   19    Request Nos. 77, 91, and 130.

                   20           Meta objects to this Request as overbroad, unduly burdensome, and disproportionate to the

                   21    needs of the case to the extent that it seeks all documents and communications concerning the

                   22    subject matter of the Request, including documents and communications with limited, if any,

                   23    relevance to Plaintiffs copyright infringement allegations and Metas defenses thereto.

                   24           Meta objects to this Request to the extent it seeks information that is not relevant to any

                   25    partys claims or defenses.

                   26    REQUEST FOR PRODUCTION NO. 106:

                   27           All Documents and Communications related to Meta guidelines for including or excluding

                   28    copyrighted material from data used to train Llama Models.
COOLEY LLP
ATTORNEYS AT LAW                                                                                       METAS OBJ & RESPS TO
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                    1    RESPONSE TO REQUEST NO. 106:

                    2           Meta incorporates by reference its objections and definitions above. Any electronic

                    3    communications, including emails and documents attached thereto, will only be produced pursuant

                    4    to and in accordance with the ESI Order.

                    5           Meta objects to this Request because, on its face, it does not exclude documents and

                    6    communications exchanged with or at the direction of Metas attorneys concerning legal advice or

                    7    opinions, which are subject to attorney-client privilege and/or attorney work product

                    8    doctrine. Such documents will not be produced.

                    9           Meta objects to this Request as vague and ambiguous as to the term guidelines. Meta

                   10    further objects to this Request as vague, ambiguous, indefinite, and unduly burdensome as to the

                   11    term copyrighted material, as the Request does not identify any and Meta is not in a position to

                   12    know whether any particular work is subject to copyright protection. Meta construes this Request

                   13    as seeking documents concerning legal guidance related to use of potentially copyrighted material

                   14    as training data for the Llama Models (as construed above). Such documents are privileged and
                   15    will not be produced.
                   16           Meta objects to this Request as overbroad, unduly burdensome, and disproportionate to the
                   17    needs of the case to the extent that it seeks all documents and communications concerning the
                   18    subject matter of the Request, including documents and communications with limited, if any,

                   19    relevance to Plaintiffs copyright infringement allegations and Metas defenses thereto.

                   20           Meta objects to this Request as duplicative of other Requests.

                   21           Meta objects to this Request to the extent that Meta has already searched for and produced

                   22    documents responsive to this Request, which overlaps with prior Requests.

                   23           Subject to and without waiving the foregoing objections, and pursuant to the terms of the

                   24    Protective Order and ESI Order, Meta will conduct a reasonable search for and produce non-

                   25    privileged, responsive documents in its possession, custody, or control, if any, sufficient to show

                   26    guidance related to use of potentially copyrighted material as training data for the Llama Models

                   27    (as construed above).

                   28    REQUEST FOR PRODUCTION NO. 107:
COOLEY LLP
ATTORNEYS AT LAW                                                                                      METAS OBJ & RESPS TO
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                    1           All Documents and Communications related to Metas use of Llama Models to develop or

                    2    augment any new or existing Meta products, including but not limited to Facebook, Instagram,

                    3    Reels, WhatsApp, Threads, Oculus, Meta virtual reality (or metaverse) products, and Metas AR

                    4    glasses (or Orion).

                    5    RESPONSE TO REQUEST NO. 107:

                    6           Meta incorporates by reference its objections and definitions above. Any electronic

                    7    communications, including emails and documents attached thereto, will only be produced pursuant

                    8    to and in accordance with the ESI Order.

                    9           Meta objects to this Request because, on its face, it does not exclude documents and

                   10    communications exchanged with or at the direction of Metas attorneys concerning legal advice or

                   11    opinions, which are subject to attorney-client privilege and/or attorney work product

                   12    doctrine. Such documents will not be produced.

                   13           Meta objects to this Request as vague and ambiguous as to the term use . . . to develop or

                   14    augment and Meta products. Meta construes this Request as seeking documents related to
                   15    Metas integration of the Llama Models (as construed) above, into features within Facebook,
                   16    Instagram, Reels, WhatsApp, Threads, Oculus, metaverse products, and Metas AR glasses
                   17    products.
                   18           Meta objects to this Request as overbroad, unduly burdensome, and disproportionate to the

                   19    needs of the case to the extent that it seeks all documents and communications concerning the

                   20    subject matter of the Request, including documents and communications with limited, if any,

                   21    relevance to Plaintiffs copyright infringement allegations and Metas defenses thereto.

                   22           Meta objects to this Request to the extent it seeks information that is not relevant to any

                   23    partys claims or defenses.

                   24           Subject to and without waiving the foregoing objections, and pursuant to the terms of the

                   25    Protective Order and ESI Order, Meta will conduct a reasonable search for and produce non-

                   26    privileged, responsive documents in Metas possession, custody, or control, if any, sufficient to

                   27    show Metas plans to develop new products using the Llama Models (as construed above) and its

                   28    plans to integrate the models into Facebook, Instagram, Reels, WhatsApp, Threads, Oculus,
COOLEY LLP
ATTORNEYS AT LAW                                                                                      METAS OBJ & RESPS TO
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                    1           Meta objects to this Request as vague and ambiguous as to the term use . . . to develop or

                    2    augment and Meta products. Meta construes this Request as seeking documents related to

                    3    Metas plans, if any, for the integration of the Llama Models (as construed above), into features

                    4    within Facebook, Instagram, Reels, WhatsApp, Threads, Oculus, metaverse products, and Metas

                    5    AR glasses products.

                    6           Meta objects to this Request as overbroad, unduly burdensome, and disproportionate to the

                    7    needs of the case to the extent that it seeks all documents and communications concerning the

                    8    subject matter of the Request, including documents and communications with limited, if any,

                    9    relevance to Plaintiffs copyright infringement allegations and Metas defenses thereto.

                   10           Meta objects to this Request to the extent it seeks information that is not relevant to any

                   11    partys claims or defenses.

                   12           Meta objects to this Request as duplicative of other Requests, including Request No. 107.

                   13           Subject to and without waiving the foregoing objections, and pursuant to the terms of the

                   14    Protective Order and ESI Order, Meta will conduct a reasonable search for and produce non-
                   15    privileged, responsive documents in Metas possession, custody, or control, if any, sufficient to
                   16    show Metas plans to develop new products using the Llama Models (as construed above) and its
                   17    plans to integrate the models into Facebook, Instagram, Reels, WhatsApp, Threads, Oculus,
                   18    metaverse products, and/or Metas AR glasses products.

                   19    REQUEST FOR PRODUCTION NO. 114:

                   20           All Documents and Communications regarding Metas proposed or actual partnership with

                   21    celebritiesincluding but not limited to John Cena, Judi Dench, Kristen Bell, Awkwafina, and

                   22    Keegan-Michael Keyto train Metas AI chatbot, including regarding the commercial terms Meta

                   23    proposed or entered into with any of them, including for any celebrities who did not finalize a

                   24    partnership with Meta.

                   25    RESPONSE TO REQUEST NO. 114:

                   26           Meta incorporates by reference its objections and definitions above. Any electronic

                   27    communications, including emails and documents attached thereto, will only be produced pursuant

                   28    to and in accordance with the ESI Order.
COOLEY LLP
ATTORNEYS AT LAW                                                                                      METAS OBJ & RESPS TO
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                    1           Meta objects to this Request because, on its face, it does not exclude documents and

                    2    communications exchanged with or at the direction of Metas attorneys concerning legal advice or

                    3    opinions, which are subject to attorney-client privilege and/or attorney work product

                    4    doctrine. Such documents will not be produced.

                    5           Meta objects to this Request as vague and ambiguous as to proposed or actual

                    6    partnership    to train Metas AI chatbot. Meta construes this Request as seeking documents

                    7    concerning any agreements to use the likenesses, personalities, or other publicity rights associated

                    8    with celebrities to train or promote Metas AI chatbots.

                    9           Meta objects to this Request as overbroad, unduly burdensome, and disproportionate to the

                   10    needs of the case to the extent that it seeks all documents and communications concerning the

                   11    subject matter of the Request, including documents and communications with no relevance to

                   12    Plaintiffs copyright infringement allegations and Metas defenses thereto.

                   13           Meta objects to this Request on the ground that it seeks information that is not relevant to

                   14    any partys claims or defenses.
                   15    REQUEST FOR PRODUCTION NO. 115:
                   16           All Documents and Communications relating to Metas decision to withhold release of its
                   17    newest multimodal AI models from distribution in the European Union.
                   18    RESPONSE TO REQUEST NO. 115:

                   19           Meta incorporates by reference its objections and definitions above. Any electronic

                   20    communications, including emails and documents attached thereto, will only be produced pursuant

                   21    to and in accordance with the ESI Order.

                   22           Meta objects to this Request because, on its face, it does not exclude documents and

                   23    communications exchanged with or at the direction of Metas attorneys concerning legal advice or

                   24    opinions, which are subject to attorney-client privilege and/or attorney work product

                   25    doctrine. Such documents will not be produced.

                   26           Meta objects to this Request as overbroad, unduly burdensome, and disproportionate to the

                   27    needs of the case to the extent that it seeks all documents and communications concerning the

                   28    subject matter of the Request, including documents and communications with no relevance to
COOLEY LLP
ATTORNEYS AT LAW                                                                                         METAS OBJ & RESPS TO
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                    1    Plaintiffs copyright infringement allegations and Metas defenses thereto.

                    2           Meta objects to this Request on the ground that it seeks information that is not relevant to

                    3    any partys claims or defenses.

                    4

                    5    REQUEST FOR PRODUCTION NO. 116:

                    6           All source code relating to Llama Models.

                    7    RESPONSE TO REQUEST NO. 116:

                    8           Meta incorporates by reference its objections and definitions above.

                    9           Meta objects to this Request as vague, ambiguous, and unduly burdensome as to the term

                   10    relating to, including because Meta is not in a position to know the scope of source code that

                   11    could conceivably be relat[ed] to Llama Models (as construed above). Meta construes this

                   12    Request as seeking the source code of the Llama Models (as construed above).

                   13           Meta objects to this Request as overbroad, unduly burdensome, and disproportionate to the

                   14    needs of the case to the extent that it seeks all source code concerning the subject matter of the
                   15    Request, including source code with limited, if any, relevance to Plaintiffs copyright infringement
                   16    allegations and Metas defenses thereto.
                   17           Meta objects to this Request to the extent it seeks information that is not relevant to any
                   18    partys claims or defenses.

                   19           Subject to and without waiving the foregoing objections, and pursuant to the terms of the

                   20    Protective Order and ESI Order, Meta will conduct a reasonable search for and produce source code

                   21    used by Meta for training the Llama Models and for evaluating the performance of Llama Models.

                   22    REQUEST FOR PRODUCTION NO. 117:

                   23           All Documents and Communications relating to Metas decision to not identify databases

                   24    used for training Llama Models.

                   25    RESPONSE TO REQUEST NO. 117:

                   26           Meta incorporates by reference its objections and definitions above. Any electronic

                   27    communications, including emails and documents attached thereto, will only be produced pursuant

                   28    to and in accordance with the ESI Order.
COOLEY LLP
ATTORNEYS AT LAW                                                                                         METAS OBJ & RESPS TO
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                    1           Meta objects to this Request because, on its face, it does not exclude documents and

                    2    communications exchanged with or at the direction of Metas attorneys concerning legal advice or

                    3    opinions, which are subject to attorney-client privilege and/or attorney work product

                    4    doctrine. Such documents will not be produced.

                    5           Meta objects to this Request as vague and ambiguous as to the phrasing not identify and

                    6    databases used for training Llama Models. Meta construes this Request as seeking documents

                    7    concerning Metas decision, if any, not to publicly identify with specificity the training data used

                    8    to train the Llama Models (as construed above) other than Llama 1.

                    9           Meta objects to this Request to the extent it assumes that Meta did not publicly identify

                   10    datasets used to train any Llama Models.

                   11           Meta objects to this Request as overbroad, unduly burdensome, and disproportionate to the

                   12    needs of the case to the extent that it seeks all documents and communications concerning the

                   13    subject matter of the Request, including documents and communications with limited, if any,

                   14    relevance to Plaintiffs copyright infringement allegations and Metas defenses thereto.
                   15           Meta objects to this Request to the extent it seeks information that is not relevant to any
                   16    partys claims or defenses.
                   17    REQUEST FOR PRODUCTION NO. 118:
                   18           All Documents and Communications, including source code, relating to any efforts,

                   19    attempts, or measures implemented by Meta to prevent Llama Models from emitting or outputting

                   20    copyrighted material.

                   21    RESPONSE TO REQUEST NO. 118:

                   22           Meta incorporates by reference its objections and definitions above. Any electronic

                   23    communications, including emails and documents attached thereto, will only be produced pursuant

                   24    to and in accordance with the ESI Order.

                   25           Meta objects to this Request because, on its face, it does not exclude documents and

                   26    communications exchanged with or at the direction of Metas attorneys concerning legal advice or

                   27    opinions, which are subject to attorney-client privilege and/or attorney work product

                   28    doctrine. Such documents will not be produced.
COOLEY LLP
ATTORNEYS AT LAW                                                                                      METAS OBJ & RESPS TO
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                    1    communications exchanged with or at the direction of Metas attorneys concerning legal advice or

                    2    opinions, which are subject to attorney-client privilege and/or attorney work product

                    3    doctrine. Such documents will not be produced.

                    4           Meta objects to this Request as vague, ambiguous, and indefinite as to copyrighted

                    5    material, as the Request does not identify any and Meta is not in a position to know whether any

                    6    particular training data is protected by copyright. Meta also objects to this Request on the ground

                    7    that it presupposes that there are documents related to the processing, storage, and deletion of

                    8    copyrighted material separate and apart from other training data.

                    9           Meta objects to this Request as duplicative of other Requests.

                   10           Meta objects to this Request as overbroad, unduly burdensome, and disproportionate to the

                   11    needs of the case to the extent that it seeks all documents and communications concerning the

                   12    subject matter of the Request, including documents and communications, including source code,

                   13    with limited, if any, relevance to Plaintiffs copyright infringement allegations and Metas defenses

                   14    thereto.
                   15           Meta objects to this Request to the extent it seeks information that is not relevant to any
                   16    partys claims or defenses.
                   17           Meta objects to this Request as duplicative of other Requests, including Request Nos. 116
                   18    and 118.

                   19           Meta is willing to meet and confer with Plaintiffs regarding the appropriate scope, if any of

                   20    this Request.

                   21    REQUEST FOR PRODUCTION NO. 120:

                   22           All Documents and Communications, including source code, relating to actual or

                   23    contemplated source code changes within Llama Models, including source code commits and

                   24    pull requests.

                   25    RESPONSE TO REQUEST NO. 120:

                   26           Meta incorporates by reference its objections and definitions above. Any electronic

                   27    communications, including emails and documents attached thereto, will only be produced pursuant

                   28    to and in accordance with the ESI Order.
COOLEY LLP
ATTORNEYS AT LAW                                                                                       METAS OBJ & RESPS TO
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                    1           Meta objects to this Request because, on its face, it does not exclude documents and

                    2    communications exchanged with or at the direction of Metas attorneys concerning legal advice or

                    3    opinions, which are subject to attorney-client privilege and/or attorney work product

                    4    doctrine. Such documents will not be produced.

                    5           Meta objects to this Request as overbroad, unduly burdensome, and disproportionate to the

                    6    needs of the case to the extent that it seeks all documents and communications, including source

                    7    code, concerning the subject matter of the Request, including documents and communications with

                    8    limited, if any, relevance to Plaintiffs copyright infringement allegations and Metas defenses

                    9    thereto.

                   10           Meta objects to this Request to the extent it seeks information that is not relevant to any

                   11    partys claims or defenses.

                   12           Meta objects to this Request as duplicative of other Requests, including Request Nos. 116,

                   13    118 and 119.

                   14           Subject to and without waiving the foregoing objections, and pursuant to the terms of the
                   15    Protective Order and ESI Order, Meta will conduct a reasonable search for and produce non-
                   16    privileged, responsive documents in its possession, custody, or control, if any, sufficient to show
                   17    actual or contemplated source code changes within Llama Models, including source code
                   18    commits and pull requests where available and reasonably technologically feasible to produce.

                   19    REQUEST FOR PRODUCTION NO. 121:

                   20           All Documents and Communications, including source code, relating to production code

                   21    for Llama Models.

                   22    RESPONSE TO REQUEST NO. 121:

                   23           Meta incorporates by reference its objections and definitions above. Any electronic

                   24    communications, including emails and documents attached thereto, will only be produced pursuant

                   25    to and in accordance with the ESI Order.

                   26           Meta objects to this Request because, on its face, it does not exclude documents and

                   27    communications exchanged with or at the direction of Metas attorneys concerning legal advice or

                   28    opinions, which are subject to attorney-client privilege and/or attorney work product
COOLEY LLP
ATTORNEYS AT LAW                                                                                      METAS OBJ & RESPS TO
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                    1            Meta objects to this Request to the extent it seeks information that is not relevant to any

                    2    partys claims or defenses.

                    3            Meta objects to this Request as duplicative of other Requests, including Request Nos. 116,

                    4    118, 119, 120, and 121.

                    5            Meta is willing to meet and confer with Plaintiffs regarding the appropriate scope, if any of

                    6    this Request.

                    7    REQUEST FOR PRODUCTION NO. 123:

                    8            All non-privileged Communications with third parties regarding Plaintiffs allegations and

                    9    Metas actual or contemplated defenses, including fair use.

                   10    RESPONSE TO REQUEST NO. 123:

                   11            Meta incorporates by reference its objections and definitions above. Any electronic

                   12    communications, including emails and documents attached thereto, will only be produced pursuant

                   13    to and in accordance with the ESI Order.

                   14            Meta objects to this Request as vague and ambiguous as to the phrasing actual or
                   15    contemplated defenses. Meta will construe this Request as seeking communications with third
                   16    parties regarding Plaintiffs allegations and Metas asserted defenses, including fair use, in
                   17    connection with this litigation.
                   18            Meta objects to this Request as overbroad, unduly burdensome, and disproportionate to the

                   19    needs of the case to the extent that it seeks all documents and communications concerning the

                   20    subject matter of the Request, including documents and communications with limited, if any,

                   21    relevance to Plaintiffs copyright infringement allegations and Metas defenses thereto.

                   22            Subject to and without waiving the foregoing objections, and pursuant to the terms of the

                   23    Protective Order and ESI Order, Meta will conduct a reasonable search for and produce non-

                   24    privileged, responsive documents in its possession, custody, or control, if any, sufficient to show

                   25    Metas communications with third parties regarding Plaintiffs allegations and Metas actual

                   26    defenses, including fair use, in this litigation.

                   27    REQUEST FOR PRODUCTION NO. 124:

                   28            Documents or Communications sufficient to show the functionalities and purpose of the
COOLEY LLP
ATTORNEYS AT LAW                                                                                        METAS OBJ & RESPS TO
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                    1    SRT.

                    2    RESPONSE TO REQUEST NO. 124:

                    3           Meta incorporates by reference its objections and definitions above. Any electronic

                    4    communications, including emails and documents attached thereto, will only be produced pursuant

                    5    to and in accordance with the ESI Order.

                    6           Meta objects to this Request as overbroad, unduly burdensome, and disproportionate to the

                    7    needs of the case to the extent that it seeks all documents and communications concerning the

                    8    subject matter of the Request, including documents and communications with limited, if any,

                    9    relevance to Plaintiffs copyright infringement allegations and Metas defenses thereto.

                   10           Meta objects to this Request to the extent it seeks information that is not relevant to any

                   11    partys claims or defenses.

                   12           Subject to and without waiving the foregoing objections, and pursuant to the terms of the

                   13    Protective Order and ESI Order, Meta will conduct a reasonable search for and produce non-

                   14    privileged, responsive documents in its possession, custody, or control, if any, sufficient to show
                   15    the functionalities and purpose of Metas SRT.
                   16    REQUEST FOR PRODUCTION NO. 125:
                   17           Documents sufficient to show the identity of persons included on the following list serv
                   18    accounts identified on Metas privilege log(s): GenAI Trust & RAI, GenAI LLM Research,

                   19    GenAI  Leadership, MPI in house.

                   20    RESPONSE TO REQUEST NO. 125:

                   21           Meta incorporates by reference its objections and definitions above. Any electronic

                   22    communications, including emails and documents attached thereto, will only be produced pursuant

                   23    to and in accordance with the ESI Order.

                   24           Meta objects to this Request as overbroad, unduly burdensome, and disproportionate to the

                   25    needs of the case because it seeks documents with limited, if any, relevance to Plaintiffs copyright

                   26    infringement allegations and Metas defenses thereto.

                   27           Meta objects to this Request on the ground that it seeks information that is not relevant to

                   28    any partys claims or defenses.
COOLEY LLP
ATTORNEYS AT LAW                                                                                       METAS OBJ & RESPS TO
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                    1    REQUEST FOR PRODUCTION NO. 126:

                    2           All Documents and Communications related to Metas decision to use the SRT for obtaining

                    3    or relaying legal advice.

                    4    RESPONSE TO REQUEST NO. 126:

                    5           Meta incorporates by reference its objections and definitions above. Any electronic

                    6    communications, including emails and documents attached thereto, will only be produced pursuant

                    7    to and in accordance with the ESI Order.

                    8           Meta objects to this Request because, on its face, it does not exclude documents and

                    9    communications exchanged with or at the direction of Metas attorneys concerning legal advice or

                   10    opinions, which are subject to attorney-client privilege and/or attorney work product

                   11    doctrine. Such documents will not be produced.

                   12           Meta objects to this Request as overbroad, unduly burdensome, and disproportionate to the

                   13    needs of the case to the extent that it seeks all documents and communications concerning the

                   14    subject matter of the Request, including documents and communications with limited, if any,
                   15    relevance to Plaintiffs copyright infringement allegations and Metas defenses thereto.
                   16           Meta objects to this Request on the ground that it seeks information that is not relevant to
                   17    any partys claims or defenses.
                   18    REQUEST FOR PRODUCTION NO. 127:

                   19           All Documents, Communications, Guidelines, or policies related to the handling, sharing,

                   20    or disclosure of potentially privileged communications or attorney work product, including but not

                   21    limited to guidelines or policies regarding the sharing of potentially privileged information with

                   22    third parties or the storage of potentially privileged communications or attorney work product in

                   23    secure locations.

                   24    RESPONSE TO REQUEST NO. 127:

                   25           Meta incorporates by reference its objections and definitions above. Any electronic

                   26    communications, including emails and documents attached thereto, will only be produced pursuant

                   27    to and in accordance with the ESI Order.

                   28
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ATTORNEYS AT LAW                                                                                      METAS OBJ & RESPS TO
                                                                         51                         PLTFS FIFTH SET OF RFPS
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                    1    relevance to Plaintiffs copyright infringement allegations and Metas defenses thereto.

                    2            Meta objects to this Request to the extent it seeks information that is not relevant to any

                    3    partys claims or defenses.

                    4    REQUEST FOR PRODUCTION NO. 129:

                    5            Documents sufficient to identify all individuals, currently or formerly employed by Meta,

                    6    including their roles and titles, who work or worked on Metas AI research and development

                    7    projects, including Llama models, and/or on Metas licensing efforts with respect to AI training

                    8    data.

                    9    RESPONSE TO REQUEST NO. 129:

                   10            Meta incorporates by reference its objections and definitions above.

                   11            Meta objects to this Request as vague and ambiguous as to the term Metas AI research

                   12    projects, which could include any number of projects dating back years.

                   13            Meta also objects to this Request to the extent that it seeks information that is publicly

                   14    available, in particular information published within the Llama 1 Paper, the Llama 2 Paper, and the
                   15    similar paper published in conjunction with Llama 3. Meta refers Plaintiffs to those papers, which
                   16    have been produced by Meta, as well as other thousands of other documents produced by Meta
                   17    which identify individuals involved in the research and development of the Llama Models (as
                   18    construed above).

                   19            Meta objects to this Request as overbroad, unduly burdensome, and disproportionate to the

                   20    needs of the case to the extent that it seeks information not kept in the ordinary course of business

                   21    and information, including documents and communications with limited, if any, relevance to

                   22    Plaintiffs copyright infringement allegations and Metas defenses thereto.

                   23            Meta objects to this Request to the extent it seeks information that is not relevant to any

                   24    partys claims or defenses.

                   25    REQUEST FOR PRODUCTION NO. 130:

                   26            All Documents and Communications, including discussions, deliberations, or negotiations

                   27    related to any actual, proposed, or contemplated licensing agreements (even if never written or

                   28    executed) for AI training data, including any actual, proposed, or contemplated terms, conditions,
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ATTORNEYS AT LAW                                                                                         METAS OBJ & RESPS TO
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                    1    and consideration.

                    2    RESPONSE TO REQUEST NO. 130:

                    3           Meta incorporates by reference its objections and definitions above. Any electronic

                    4    communications, including emails and documents attached thereto, will only be produced pursuant

                    5    to and in accordance with the ESI Order.

                    6           Meta objects to this Request because, on its face, it does not exclude documents and

                    7    communications exchanged with or at the direction of Metas attorneys concerning legal advice or

                    8    opinions, which are subject to attorney-client privilege and/or attorney work product

                    9    doctrine. Such documents will not be produced.

                   10           Meta objects to this Request as vague and ambiguous as to the term AI training data,

                   11    which is not limited in scope and could include training data other than text, and other than for the

                   12    Llama Models (as construed above). Meta construes this Request as concerning text training data

                   13    for the Llama Models (as construed above).

                   14           Meta objects to this Request as overbroad, unduly burdensome, and disproportionate to the
                   15    needs of the case to the extent that it seeks all documents and communications concerning the
                   16    subject matter of the Request, including documents and communications with limited, if any,
                   17    relevance to Plaintiffs copyright infringement allegations and Metas defenses thereto.
                   18           Meta objects to this Request to the extent it seeks information that is not relevant to any

                   19    partys claims or defenses.

                   20           Subject to and without waiving the foregoing objections, and pursuant to the terms of the

                   21    Protective Order and ESI Order, Meta will conduct a reasonable search for and produce non-

                   22    privileged, responsive documents in its possession, custody, or control concerning Metas efforts

                   23    to license text training data for the Llama Models (as construed above).

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                                                                          54                         PLTFS FIFTH SET OF RFPS
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                    1    Dated: November 8, 2024                            COOLEY LLP

                    2

                    3                                                By: /s/ Judd Lauter
                                                                         Bobby Ghajar
                    4                                                    Mark Weinstein
                                                                         Kathleen Hartnett
                    5                                                    Judd Lauter
                                                                         Liz Stameshkin
                    6                                                    Colette Ghazarian
                    7                                                       LEX LUMINA PLLC
                                                                            Mark A. Lemley
                    8
                                                                            CLEARY GOTTLIEB STEEN &
                    9                                                       HAMILTON LLP
                                                                            Angela L. Dunning
                   10                                                       Attorneys for Defendant
                                                                            META PLATFORMS, INC.
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